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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION


IN RE:                                                )     CHAPTER 11
                                                      )
A-1 EXPRESS DELIVERY SERVICE, INC.,                   )     CASE NO. 17-52865-pmb
                                                      )
                       Debtor.                        )
                                                      )


            MOTION FOR AUTHORITY TO CONTINUE PRE-PETITION
         INSURANCE PROGRAMS AND TO PAY PRE-PETITION PREMIUMS

       COMES NOW A-1 Express Delivery Service, Inc. (the “Debtor”) in the above-styled

Chapter 11 case (the “Case”), by and through the undersigned counsel, and makes and files this

Motion for Authority to Continue Pre-Petition Insurance Programs and to Pay Pre-Petition

Premiums (the “Motion”), respectfully showing the Court as follows:

                                         Relief Requested

                                                 1.

       By this Motion, the Debtor seeks entry of an order (a) authorizing it to maintain their

insurance programs, insurance policies and any related agreements, as such practices, programs,

and policies were in effect as of the Petition Date, and to pay, in its sole discretion, pre-petition

amounts accrued in connection therewith, and (b) authorizing applicable banks and other

financial institutions to receive, process and pay any and all checks and other transfers related to

such claims.
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                                           Jurisdiction

                                                 2.

       This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. § 1334.

Consideration of this Motion is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue of this

proceeding is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                           Background

                                                 3.

       On February 14, 2017 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under Chapter 11, Title 11, United States Code (the “Bankruptcy Code”). The Debtor is

authorized to operate its business as a debtor-in-possession pursuant to Sections 1107 and 1108

of the Bankruptcy Code.

                                                 4.

       The Debtor is a leading provider of same-day transportation and distribution services

across the country.     From its headquarters in midtown Atlanta, the Debtor manages the

transportation, distribution and logistics for well over 1500 active clients, including many

Fortune 500 companies with operations throughout the United States. The Debtor provides next

day services for Amazon in 5 cities, employing over 300 drivers. Additionally, the Debtor

operates 2 same-day florist locations in Atlanta and Los Angeles.

                               The Debtor’s Insurance Programs

                                                 5.

       In connection with the operation of their businesses, the Debtor maintains various

insurance policies and programs (collectively, the “Insurance Programs”) through certain

insurance carriers (the “Insurance Carriers”). Exhibit A to this Motion is a summary of the

Debtor’s various insurance policies, including a list of the policy terms.


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                                                     6.

        The Debtor’s Insurance Programs include liability, property insurance and worker’s

compensation policies, which provide the Debtor with insurance coverage relating to, among

other things, general liability, workers’ compensation, business fleet, and property.

                                                     7.

        The Debtor is required to pay premiums based upon a fixed rate established by the

Insurance Carriers. The premiums for these policies are determined annually and are either

(1) directly billed to the Debtor in monthly installments or (2) financed by the Debtor pursuant to

a premium finance agreement.

                                                     8.

        As of the Petition Date, the Debtor believes that it is current on pre-petition premiums

billed with respect to the Insurance Programs, other than amounts due with respect to the

worker’s compensation policy. With respect to the worker’s compensation policy, prior to the

Petition Date the Insurance Carriers audited the Debtor’s prior history, and determined that the

Debtor had underpaid for the prior calendar year.1 Accordingly, the Debtor owed an additional

premium for such policy of which approximately $220,000 remains to be paid, split into monthly

payments of $36,769.04. There are six remaining payments on such policy audit due in each of

February through July of 2017. If the Debtor fails to make such payments, the Insurance

Carriers would be entitled to cancel all of the Debtor’s Insurance Programs. Accordingly, in

order to keep all of its insurance in place, the Debtor seeks to pay these amounts in the ordinary

course as such payments are necessary to keep the Insurance Programs in force.



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        The premium for the worker’s compensation policy is based on a per employee charge, as well as claims
experience throughout the year.



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                                  The Claims Administration Process

                                                       9.

        With respect to the Insurance Programs, there are certain self-insured retention and/or

deductible amounts set forth in the policy language for each claim, but the Debtor has already

prepaid such amounts through the policy year. Accordingly, the deductible amounts for such

policies are effectively zero.2 Claims for losses and expenses are paid by the Insurance Carriers

directly to claimants, attorneys, and investigators, as incurred. The Insurance Carriers then

assess the prepaid amount for reimbursement of losses and expenses that fall under the

deductible amounts set forth in the policy.

                                                       10.

        Paying expenses such as attorneys’ fees and costs of investigation that may fall within the

deductible under the Debtor’s Insurance Programs is necessary to continue to address and

process claims. The Debtor seeks authorization for the payment of such expenses, even if the

payment satisfies pre-petition claims of attorneys’ fees and costs of investigation.

                                               Basis for Relief

                                                       11.

        This Court has the authority to grant the relief requested herein pursuant to Sections

105(a) and 363(b) of the Bankruptcy Code. Section 363(b)(1) of the Bankruptcy Code provides

“[t]he trustee, after notice and a hearing, may use, sell, or lease, other than in the ordinary course

of business, property of the estate.” 11 U.S.C. § 363(b)(1). Moreover, Section 105(a) of the

Bankruptcy Code allows the Court to authorize payments on account of certain pre-petition

claims when necessary. Section 105(a) of the Bankruptcy Code provides, in relevant part, that

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        Indeed, based on its claims history, the Debtor may be entitled to a refund of some portion of the prepaid
amount at some point in the future.



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“[t]he court may issue any order, process, or judgment that is necessary or appropriate to carry

out the provisions of this title.” 11 U.S.C. § 105(a).

                      Continuation of the Insurance Programs is in the
              Best Interests of the Debtor, Its Estate, and All Parties in Interest

                                                 12.

        Pursuant to Sections 105(a) and 363(b) of the Bankruptcy Code, the Debtor seeks

authorization to continue the Insurance Programs on an uninterrupted basis, consistent with pre-

petition practices, and pay, when due, and in the ordinary course of the Debtor’s businesses, all

pre-petition premiums, administrative fees, and other pre-petition obligations (collectively, the

“Insurance Obligations”) to the Insurance Carriers to the extent due and payable post-petition.

                                                 13.

        As stated above, the Debtor’s insurance policies either involve deductible amounts or a

self-insured retention for each claim that is submitted. To the extent a deductible payment, self-

insured retention payment, or reimbursement relating to a period prior to the Petition Date is

outstanding with respect to any of the insurance policies, the Debtor seeks authority, in its

discretion, to make such payments in the same manner that such payments were made prior to

the Petition Date. The Debtor does not seek authority at this time to pay pre-petition claims

(e.g., of injured parties) that fall within the deductible or self-insured retention amounts.

                                                 14.

        It is essential to the continued operation of the Debtor’s business and its efforts to

reorganize that the Insurance Programs be maintained on an ongoing and uninterrupted basis.

The failure to pay premiums when due may affect the Debtor’s ability to renew the insurance

policies.   If the insurance policies are allowed to lapse, the Debtor could be exposed to

substantial liability for damages resulting to persons and property of the Debtor and others,



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which exposure could have an extremely negative impact on the Debtor’s ongoing business

operations. Such a result would also place at risk the estate’s assets that are necessary to satisfy

secured and unsecured claims.

                                                 15.

       Pursuant to the terms of many of their leases and commercial contracts, as well as the

guidelines established by the United States Trustee, the Debtor is obligated to remain current

with respect to certain of its primary insurance policies.

                                                 16.

       The amounts the Debtor proposes to pay with respect to the Insurance Programs are

minimal in light of the size of the Debtor’s estates and the potential exposure of the Debtor,

absent insurance coverage. Therefore, it is critical that the Debtor continues to maintain its

Insurance Programs on an uninterrupted basis and be permitted to pay any obligations in the

ordinary course of business and consistent with pre-petition practices. Other bankruptcy courts,

within and without this jurisdiction, have held that a debtor is authorized to maintain pre-petition

insurance programs pursuant to Sections 363(b) and 105(a) where, as here, a sound business

justification exists. See, e.g., In re Foamex Int’l. Inc., Case No. 05-12685 (PJW) (Bankr. D. Del.

Sept. 21, 2005); In re Allied Holdings, Inc., Case Nos. 05-12515 – 05-12537 (Bankr. N.D. Ga.

Aug. 1, 2005) (Drake, J.); In re Centennial HealthCare Corp., Case No. 02-74974 (Bankr. N.D.

Ga. Dec. 20, 2002) (authorizing debtors to maintain existing insurance programs); In re

WestPoint Stevens, Inc., Case No. 03-13532 (Bankr. S.D.N.Y. June 3, 2003); In re WorldCom,

Inc., Case No. 02-13533 (Bankr. S.D.N.Y. July 23, 2002); In re Enron Corp., et al, Case No. 01-

16034 (Bankr. S.D.N.Y. 2001). Given the crucial nature of the Debtor’s insurance coverage, the

Debtor submits that similar relief is appropriate in these Chapter 11 cases.




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            Applicable Banks Should Be Authorized to Honor and Pay Checks Issued
              and Make Other Transfers with Respect to the Insurance Programs

                                               17.

       If the Court grants the relief sought herein, the Debtor requests that all applicable banks

and other financial institutions be authorized when requested by the Debtor and in the Debtor’s

sole discretion, without any duty of inquiry or liability to any party for following the Debtor’s

instructions, to receive, process, honor and pay any and all checks drawn on the Debtor’s

accounts to pay the Insurance Obligations, whether those checks were presented prior to or after

the Petition Date, and make other transfers provided that sufficient funds are available in the

applicable accounts to make the payments.

                                               18.

       Authorization of the payment of the Insurance Obligations should not be deemed to

constitute the post-petition assumption of any executory contract pursuant to Section 365 of the

Bankruptcy Code. The Debtor is in the process of reviewing these matters and reserve all of its

rights under the Bankruptcy Code with respect thereto. Moreover, authorization to pay the

Insurance Obligations should not affect the Debtor’s right to contest the amount or validity of

any such charges, in whole or in part.

                                               19.

       Based on the foregoing, the Debtor submits the relief requested is necessary and

appropriate, is in the best interests of its estate and creditors, and should be granted in all

respects.




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                                              Notice

                                                20.

       Notice of this Motion has been provided to the Office of the United States Trustee,

counsel to the Debtor’s pre-petition secured lender, any other party asserting a security interest in

assets of the Debtor, the Debtor’s twenty (20) largest unsecured creditors, and all parties that

have filed requests for notices under Rule 2002 of the Federal Rules of Bankruptcy Procedure as

of the date of the Motion. In light of the nature of the relief requested, the Debtor submits that

no further notice is necessary.

                                            Conclusion

       WHEREFORE, the Debtor respectfully requests that this Court:

       (a)     enter an order authorizing the Debtor to continue its pre-petition Insurance

               Programs and pay premiums and related obligations of the Insurance Programs;

               and

       (b)     grant the Debtor such other and further relief as is just and proper.

       Respectfully submitted, this 17th day of February, 2017.

                                              SCROGGINS & WILLIAMSON, P.C.


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                                    Exhibit A



                                 Insurance Policies
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